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                4
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     THE        7
C OCHRAN            Attorneys For Plaintiff
  FIRM 8
CALIFORNIA
4929 Wilshire Bl.
   Suite 1010
 (323)435-8205  9
                                              UNITED STATES DISTRICT COURT
             10
                                          CENTRAL DISTRICT OF CALIFORNIA
             11
             12
                DEMAR SMITH, individually and as            CASE NO.: 5:16-CV-00227
             13 Successor in Interest to ANTHONIE
                SMITH, deceased,                            COMPLAINT FOR DAMAGES
             14
             15                        Plaintiff,           1.    Violations of Civil Rights (42 U.S.C.
                                                                  § 1983) (Based on Unreasonable
             16
                    v.                                            Use of Deadly Force)
             17
                COUNTY OF RIVERSIDE, a municipal            2.    Wrongful Death (Cal.
             18
                entity, and DOES 1 through 10,                    Government Code §§ 815.2(a),
             19 inclusive,                                        820(a); Cal. Civil Code § 43)
                                                                  (Based on Battery)
             20
                                       Defendants.
             21                                             3.    Wrongful Death (Cal.
                                                                  Government Code §§ 815.2(a),
             22
                                                                  820(a)) (Based on Negligence)
             23
             24                                                   DEMAND FOR JURY TRIAL

             25
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             27
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                1                               JURISDICTION AND VENUE
                2         1.     Jurisdiction is vested in this court under 28 U.S.C. § 1343(a)(3)-(4) for
                3 violations of the 1871 Civil Rights Enforcement Act, as amended, including 42 U.S.C.
                4 § 1983 and 28 U.S.C. §§ 1331 and 1367(a).
                5         2.     Venue is proper in the Central District of California under 28 U.S.C.
                6
                    § 1391(a)-(b).
     THE        7
C OCHRAN                                                    PARTIES
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                          3.     At all relevant times herein, Plaintiff DEMAR SMITH (hereinafter
   Suite 1010
 (323)435-8205  9
                    “Plaintiff”) was and is a resident of the County of San Bernardino and State of
             10
                    California. Plaintiff is the surviving biological father of decedent ANTHONIE SMITH.
             11
                          4.     Plaintiff is a Successor in Interest to decedent ANTHONIE SMITH, and is
             12
                    entitled to bring certain causes of action herein alleged pursuant to § 377.30 of the
             13
                    California Code of Civil Procedure. (Attached herein is a declaration designating
             14
                    Plaintiff DEMAR SMITH as a Successor in Interest to ANTHONIE SMITH, and a true
             15
                    and correct copy of the death certificate for ANTHONIE SMITH, furnished herewith
             16
             17
                    pursuant to § 377.32 of the California Code of Civil Procedure.)

             18           5.    Defendant COUNTY OF RIVERSIDE (hereinafter “COUNTY”) is, and at

             19 all relevant times mentioned herein was, a municipal entity or political subdivision of the
             20 United States, organized and existing under the laws of the State of California.
             21           6.     Plaintiff is informed, believes, and thereon alleges that the heretofore
             22 unknown Defendant DOE Deputies are, and at all relevant times mentioned herein were,
             23 residents of the County of Riverside and State of California. Further, at all times relevant
             24 to the acts and omissions herein alleged, said DOE Deputies were sheriff’s deputies
             25 employed by the Defendant COUNTY and the Riverside County Sheriff’s Department,
             26 and were acting under color of law and in the course and scope of their employment with
             27 the COUNTY and the Riverside County Sheriff’s Department.
             28 ///



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                1         7.     On or around August 6, 2015, a timely Claim for Damages was submitted to
                2 the County of Riverside in substantial compliance with California Government Code
                3 § 910, et seq. As of the date of the filing of this Complaint, said Claim has been denied.
                4         8.     Plaintiff is unaware of the true names and capacities of those Defendants
                5 named herein as DOE Defendants. Plaintiff will amend this Complaint to allege said
                6
                    Defendants’ true names and capacities when that information becomes known to him.
     THE        7
C OCHRAN
                    Plaintiff is informed, believes, and thereon alleges that these DOE Defendants are legally
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                    responsible and liable for the incident, injuries, and damages hereinafter set forth, and
   Suite 1010
 (323)435-8205  9
                    that each of said Defendants proximately caused the injuries and damages by reason of
             10
                    negligent, careless, deliberately indifferent, intentional, willful, or wanton misconduct,
             11
                    including the negligent, careless, deliberately indifferent, intentional, willful, or wanton
             12
                    misconduct in creating and otherwise causing the incidents, conditions, and
             13
                    circumstances hereinafter set forth, or by reason of direct or imputed negligence or
             14
                    vicarious fault or breach of duty arising out of the matters herein alleged. Plaintiff will
             15
                    seek leave to amend this Complaint to set forth said true names and identities of the
             16
                    unknown named DOE Defendants when they are ascertained.
             17
             18           9.     Each of the individual Defendants sued herein is sued both in his or her

             19 individual and personal capacity, as well as in his or her official capacity.
             20           10.    Plaintiff is informed, believes, and thereon alleges that at all times herein
             21 mentioned, each of the Defendants was the agent and/or employee and/or co-conspirator
             22 of each of the remaining Defendants, and in doing the things hereinafter alleged, was
             23 acting within the scope of such agency, employment, and/or conspiracy and with the
             24 permission and consent of other co-Defendants.
             25                              FACTS COMMON TO ALL COUNTS
             26           11.    This Complaint concerns a fatal deputy-involved shooting incident which
             27 occurred during the early morning hours of Thursday, July 16, 2015, at or around the
             28 intersection of Perris Boulevard and Sunnymead Boulevard in the City of Moreno



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                1 Valley, County of Riverside, and State of California. At approximately 6:00 a.m. on that
                2 date, Plaintiff’s decedent, ANTHONIE SMITH, was standing and/or walking at or
                3 around the intersection of Perris Boulevard and Sunnymead Boulevard when several
                4 heretofore unknown Defendant DOE Deputies, while acting under color of law and in
                5 the course and scope of their employment with the Defendant COUNTY and the
                6
                    Riverside County Sheriff’s Department, negligently assessed the circumstances
     THE        7
C OCHRAN
                    presented to them, and then violently confronted ANTHONIE SMITH without having
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                    probable cause or reasonable suspicion to believe that ANTHONIE SMITH had
   Suite 1010
 (323)435-8205  9
                    committed any crime, or would commit a crime in the future.
             10
                          12.   Without warning, the Defendant DOE Deputies proceeded to assault and
             11
                    batter ANTHONIE SMITH by acts which included, but were not limited to, repeatedly
             12
                    and unjustifiably discharging their department-issued firearms at the person of
             13
                    ANTHONIE SMITH, inflicting several gunshot wounds, which proved to be fatal.
             14
                    Following the shooting, the involved deputies denied medical care to ANTHONIE
             15
                    SMITH in a manner that demonstrated deliberate indifference to his constitutional rights.
             16
                    After surviving for an appreciable period of time following the shooting, ANTHONIE
             17
             18 SMITH died as a direct and proximate result of the gunshot wounds inflicted upon his
             19 person by the Defendant DOE Deputies.
             20           13.   At no time during the course of these events did ANTHONIE SMITH pose
             21 any reasonable or credible threat of violence to the shooting deputies, nor did he do
             22 anything to justify the force used against him, and the same was deadly, excessive,
             23 unnecessary, and unlawful. Both prior to and during the time in which he was fatally
             24 shot, ANTHONIE SMITH posed no reasonable threat of violence to the heretofore
             25 unknown Defendant DOE Deputies who shot him, nor to any other individual. Both prior
             26 to and during the time in which he was shot dead, ANTHONIE SMITH made no
             27 aggressive movements, no furtive gestures, and no physical movements which would
             28 suggest to a reasonable sheriff’s deputy that he had the will, or the ability to inflict



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                1 substantial bodily harm against any individual. Both prior to and during the time in
                2 which the Defendant DOE Deputies shot and killed ANTHONIE SMITH, the DOE
                3 Deputies, who fired, were not faced with any circumstances which would have led a
                4 reasonable sheriff’s deputy to believe that ANTHONIE SMITH posed the risk of death,
                5 or serious bodily injury to any person.
                6
                                             FOR THE FIRST CAUSE OF ACTION
     THE        7
C OCHRAN              (By Plaintiff DEMAR SMITH, as Successor in Interest to ANTHONIE SMITH,
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.   Deceased, Against the Heretofore Unknown Defendant DOE Deputies for Violations
   Suite 1010
 (323)435-8205  9
                                                 of Civil Rights [42 U.S.C. § 1983])
             10
                                          (Based on Unreasonable Use of Deadly Force)
             11
                           14.    Plaintiff restates and incorporates by reference the foregoing paragraphs of
             12
                    this Complaint as if set forth in full at this point.
             13
                           15.   This cause of action is brought on behalf of decedent ANTHONIE SMITH,
             14
                    by and through his Successor in Interest, Plaintiff DEMAR SMITH, who would, but for
             15
                    his death, be entitled to bring this cause of action, and is set forth herein to redress the
             16
             17
                    deprivation, under color of statute, ordinance, regulation, policy, custom, practice, and/or

             18 usage, of rights, privileges, and/or immunities secured to ANTHONIE SMITH by the
             19 Fourth Amendment to the Constitution of the United States, including, but not limited to,
             20 the right to be free from unreasonable governmental seizures of his person.
             21            16.    Plaintiff is informed and believes, and thereupon alleges, that at all times
             22 mentioned herein, the Defendant COUNTY employed the heretofore unknown
             23 Defendant DOE Deputies. The COUNTY provided the DOE Deputies with official
             24 badges and identification cards which designated and described the DOE Deputies as
             25 employees of the COUNTY and the Riverside County Sheriff’s Department.
             26            17.    At all times relevant to the acts and omissions herein alleged, the heretofore
             27 unknown Defendant DOE Deputies were employed by the Defendant COUNTY and the
             28 Riverside County Sheriff’s Department, and were acting under color of law and in the



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                1 course and scope of their employment with the COUNTY and the Riverside County
                2 Sheriff’s Department.
                3         18.   At approximately 6:00 a.m. on July 16, 2015, Plaintiff’s decedent,
                4 ANTHONIE SMITH, was standing and/or walking at or around the intersection of Perris
                5 Boulevard and Sunnymead Boulevard when several heretofore unknown Defendant DOE
                6
                    Deputies, while acting under color of law and in the course and scope of their
     THE        7
C OCHRAN
                    employment with the Defendant COUNTY and the Riverside County Sheriff’s
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                    Department, violently confronted ANTHONIE SMITH without having probable cause or
   Suite 1010
 (323)435-8205  9
                    reasonable suspicion to believe that ANTHONIE SMITH had committed any crime, or
             10
                    would commit a crime in the future.
             11
                          19.   Without warning, the Defendant DOE Deputies proceeded to assault and
             12
                    batter ANTHONIE SMITH by acts which included, but were not limited to, repeatedly
             13
                    and unjustifiably discharging their department-issued firearms at the person of
             14
                    ANTHONIE SMITH, inflicting several gunshot wounds, which proved to be fatal.
             15
                    Following the shooting, the involved deputies denied medical care to ANTHONIE
             16
                    SMITH in a manner that demonstrated deliberate indifference to his constitutional rights.
             17
             18 After surviving for an appreciable period of time following the shooting, ANTHONIE
             19 SMITH died as a direct and proximate result of the gunshot wounds inflicted upon his
             20 person by the Defendant DOE Deputies.
             21           20.   At no time during the course of these events did ANTHONIE SMITH pose
             22 any reasonable or credible threat of violence to the shooting deputies, nor did he do
             23 anything to justify the force used against him, and the same was deadly, excessive,
             24 unnecessary, and unlawful. Both prior to and during the time in which he was fatally
             25 shot, ANTHONIE SMITH posed no reasonable threat of violence to the heretofore
             26 unknown Defendant DOE Deputies who shot him, nor to any other individual. Both prior
             27 to and during the time in which he was shot dead, ANTHONIE SMITH made no
             28 aggressive movements, no furtive gestures, and no physical movements which would



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                1 suggest to a reasonable sheriff’s deputy that he had the will, or the ability to inflict
                2 substantial bodily harm against any individual. Both prior to and during the time in
                3 which the Defendant DOE Deputies shot and killed ANTHONIE SMITH, the DOE
                4 Deputies, who fired, were not faced with any circumstances which would have led a
                5 reasonable sheriff’s deputy to believe that ANTHONIE SMITH posed the risk of death,
                6
                    or serious bodily injury to any person.
     THE        7
C OCHRAN
                          21.    At all times mentioned herein, the Defendant DOE Deputies acted under
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                    color and pretense of law, and under color of the statutes, ordinances, regulations,
   Suite 1010
 (323)435-8205  9
                    policies, practices, customs, and/or usages of the State of California and the Defendant
             10
                    COUNTY. The Defendant DOE Deputies deprived Plaintiff’s decedent, ANTHONIE
             11
                    SMITH, of the rights, privileges, and/or immunities secured to him by the Fourth
             12
                    Amendment to the Constitution of the United States and the laws of the United States,
             13
                    including, but not limited to, the right to be free from unreasonable governmental
             14
                    seizures of his person.
             15
                          22.    Plaintiff’s decedent, ANTHONIE SMITH, had the right to be free from
             16
                    unreasonable governmental seizures of his person, a right which was secured to
             17
             18 ANTHONIE SMITH by the provisions of the Fourth Amendment to the United States
             19 Constitution, and by 42 U.S.C. § 1983. All of these interests were implicated by the
             20 wrongful conduct of the Defendant DOE Deputies, which proximately caused the death
             21 of ANTHONIE SMITH.
             22           23.    Plaintiff is informed, believes, and thereupon alleges, that in unreasonably
             23 seizing the person of Plaintiff’s decedent, ANTHONIE SMITH, as described in the
             24 foregoing paragraphs of this Complaint, the Defendant DOE Deputies acted outside the
             25 scope of their jurisdiction and without authorization of law, and acted willfully,
             26 maliciously, knowingly, with reckless disregard and callous indifference to the known
             27 consequences of their acts and omissions, and purposefully with the intent to deprive
             28 ANTHONIE SMITH of his federally protected rights and privileges, and did in fact



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                1 violate the aforementioned rights and privileges, thereby warranting punitive and
                2 exemplary damages against the Defendant DOE Deputies in an amount to be proven at
                3 the trial of this matter.
                4         24.    As a direct and proximate result of the wrongful, intentional, and malicious
                5 acts and omissions of the Defendant DOE Deputies, Plaintiff’s decedent, ANTHONIE
                6
                    SMITH, suffered great mental and physical pain, suffering, anguish, fright, nervousness,
     THE        7
C OCHRAN
                    anxiety, grief, shock, humiliation, indignity, embarrassment, and apprehension prior to
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                    his death, all to his damage in a sum to be determined at trial.
   Suite 1010
 (323)435-8205  9
                          25.    As a further proximate result of the wrongful, intentional, and malicious
             10
                    acts and omissions of the Defendant DOE Deputies, Plaintiff’s decedent, ANTHONIE
             11
                    SMITH, was required to employ, and did in fact employ health care providers and
             12
                    medical practitioners to examine, treat, and care for him, and incurred expenses for
             13
                    emergent medical services and other medical treatment and care prior to his death in an
             14
                    amount according to proof at trial.
             15
                          26.    Plaintiff is entitled to and hereby demands costs, attorneys’ fees, and
             16
                    expenses pursuant to 42 U.S.C. § 1988.
             17
             18                           FOR THE SECOND CAUSE OF ACTION

             19       (By Plaintiff DEMAR SMITH Against All Defendants for Wrongful Death [Cal.

             20                  Government Code §§ 815.2(a), 820(a); Cal. Civil Code § 43]
             21                                           (Based on Battery)
             22           27.    Plaintiff restates and incorporates by reference the foregoing paragraphs of
             23 this Complaint as if set forth in full at this point.
             24           28.    All claims asserted herein against the Defendant COUNTY are presented
             25 pursuant to the COUNTY’s vicarious liability for acts and omissions of municipal
             26 employees undertaken in the course and scope of their employment pursuant to
             27 California Government Code §§ 815.2(a) and 820(a).
             28 ///



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                1         29.   At approximately 6:00 a.m. on July 16, 2015, Plaintiff’s decedent,
                2 ANTHONIE SMITH, was standing and/or walking at or around the intersection of Perris
                3 Boulevard and Sunnymead Boulevard when several heretofore unknown Defendant DOE
                4 Deputies, while acting under color of law and in the course and scope of their
                5 employment with the Defendant COUNTY and the Riverside County Sheriff’s
                6
                    Department, violently confronted ANTHONIE SMITH without having probable cause or
     THE        7
C OCHRAN
                    reasonable suspicion to believe that ANTHONIE SMITH had committed any crime, or
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                    would commit a crime in the future.
   Suite 1010
 (323)435-8205  9
                          30.   Without warning, the Defendant DOE Deputies proceeded to assault and
             10
                    batter ANTHONIE SMITH by acts which included, but were not limited to, repeatedly
             11
                    and unjustifiably discharging their department-issued firearms at the person of
             12
                    ANTHONIE SMITH, inflicting several gunshot wounds, which proved to be fatal.
             13
                          31.   As a direct and proximate result of the above-mentioned conduct of the
             14
                    Defendant DOE Deputies, and each of them, ANTHONIE SMITH was shot on July 16,
             15
                    2015. After surviving for an appreciable period of time following the shooting,
             16
                    ANTHONIE SMITH died as a direct and proximate result of the gunshot wounds
             17
             18 inflicted upon his person by the Defendant DOE Deputies.
             19           32.   At no time during the course of these events did ANTHONIE SMITH pose

             20 any reasonable or credible threat of violence to the shooting deputies, nor did he do
             21 anything to justify the force used against him, and the same was deadly, excessive,
             22 unnecessary, and unlawful. Both prior to and during the time in which he was fatally
             23 shot, ANTHONIE SMITH posed no reasonable threat of violence to the heretofore
             24 unknown Defendant DOE Deputies who shot him, nor to any other individual. Both prior
             25 to and during the time in which he was shot dead, ANTHONIE SMITH made no
             26 aggressive movements, no furtive gestures, and no physical movements which would
             27 suggest to a reasonable sheriff’s deputy that he had the will, or the ability to inflict
             28 substantial bodily harm against any individual. Both prior to and during the time in



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                1 which the Defendant DOE Deputies shot and killed ANTHONIE SMITH, the DOE
                2 Deputies, who fired, were not faced with any circumstances which would have led a
                3 reasonable sheriff’s deputy to believe that ANTHONIE SMITH posed the risk of death,
                4 or serious bodily injury to any person.
                5          33.    Plaintiff is informed and believes, and thereupon alleges, that in shooting
                6
                     decedent ANTHONIE SMITH, as described in the foregoing paragraphs of this
     THE        7
C OCHRAN
                     Complaint, the Defendant DOE Deputies acted outside the scope of their jurisdiction and
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                     without authorization of law, and acted willfully, maliciously, knowingly, with reckless
   Suite 1010
 (323)435-8205  9
                     disregard and callous indifference to the known consequences of their acts and
             10
                     omissions, and purposefully with the intent to deprive ANTHONIE SMITH of his
             11
                     protected rights and privileges, and did in fact violate the aforementioned rights and
             12
                     privileges, thereby warranting punitive and exemplary damages against the Defendant
             13
                     DOE Deputies in an amount to be proven at the trial of this matter.
             14
                           34.   As a direct and proximate result of the death of decedent ANTHONIE
             15
                     SMITH and the above-described conduct of the Defendant DOE Deputies, and each of
             16
                     them, ANTHONIE SMITH’s heir, the Plaintiff herein, has sustained substantial
             17
             18 economic damages and non-economic damages resulting from the loss of the love,
             19 companionship, comfort, care, assistance, protection, affection, society, moral support,
             20 training, guidance, services, and support of ANTHONIE SMITH in an amount according
             21 to proof at trial.
             22            35.    As a further proximate result of the above-described conduct of the
             23 Defendant DOE Deputies, and each of them, and the ensuing death of ANTHONIE
             24 SMITH, Plaintiff has incurred funeral and burial expenses in an amount according to
             25 proof at trial.
             26 ///
             27 ///
             28 ///



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                1                             FOR THE THIRD CAUSE OF ACTION
                2      (By Plaintiff DEMAR SMITH Against All Defendants for Wrongful Death [Cal.
                3                              Government Code §§ 815.2(a), 820(a)]
                4                                        (Based on Negligence)
                5
                            36.    Plaintiff restates and incorporates by reference the foregoing paragraphs of
                6
                     this Complaint as if set forth in full at this point.
     THE        7
C OCHRAN                    37.    All claims asserted herein against the Defendant COUNTY are presented
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.    pursuant to the COUNTY’s vicarious liability for acts and omissions of municipal
   Suite 1010
 (323)435-8205  9
                     employees undertaken in the course and scope of their employment pursuant to
             10
                     California Government Code §§ 815.2(a) and 820(a).
             11
                            38.   At approximately 6:00 a.m. on July 16, 2015, Plaintiff’s decedent,
             12
                     ANTHONIE SMITH, was standing and/or walking at or around the intersection of Perris
             13
                     Boulevard and Sunnymead Boulevard when several heretofore unknown Defendant DOE
             14
                     Deputies, while acting under color of law and in the course and scope of their
             15
                     employment with the Defendant COUNTY and the Riverside County Sheriff’s
             16
             17
                     Department, negligently assessed the circumstances presented to them, and then

             18 violently confronted ANTHONIE SMITH.
             19             39.    Without warning, the Defendant DOE Deputies proceeded to negligently

             20 discharge their firearms at the person of ANTHONIE SMITH, inflicting several gunshot
             21 wounds to ANTHONIE SMITH’s person. After surviving for an appreciable period of
             22 time following the shooting, ANTHONIE SMITH died as a direct and proximate result
             23 of the gunshot wounds negligently inflicted upon his person by the Defendant DOE
             24 Deputies.
             25            40.    At no time during the course of these events did ANTHONIE SMITH pose
             26 any reasonable or credible threat of violence to the shooting deputies, nor did he do
             27 anything to justify the force used against him, and the same was deadly, excessive,
             28 unnecessary, and unlawful. Both prior to and during the time in which he was fatally



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                1 shot, ANTHONIE SMITH posed no reasonable threat of violence to the heretofore
                2 unknown Defendant DOE Deputies who shot him, nor to any other individual. Both prior
                3 to and during the time in which he was shot dead, ANTHONIE SMITH made no
                4 aggressive movements, no furtive gestures, and no physical movements which would
                5 suggest to a reasonable sheriff’s deputy that he had the will, or the ability to inflict
                6
                     substantial bodily harm against any individual. Both prior to and during the time in
     THE        7
C OCHRAN
                     which the Defendant DOE Deputies shot and killed ANTHONIE SMITH, the DOE
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                     Deputies, who fired, were not faced with any circumstances which would have led a
   Suite 1010
 (323)435-8205  9
                     reasonable sheriff’s deputy to believe that ANTHONIE SMITH posed the risk of death,
             10
                     or serious bodily injury to any person.
             11
                           41.    Plaintiff is informed and believes, and thereupon alleges, that on and
             12
                     before July 16, 2015, the Defendant DOE Deputies had a duty to exercise the reasonable
             13
                     and ordinary care which would be expected of similarly situated peace officers in the use
             14
                     of deadly force, and had a duty to exercise the reasonable and ordinary care which would
             15
                     be expected of similarly situated peace officers in the execution of police tactics and
             16
                     police procedures in approaching and/or attempting to detain non-dangerous mentally ill
             17
             18 suspects. Notwithstanding each of these duties, the Defendant DOE Deputies failed to
             19 exercise reasonable and ordinary care in committing the acts alleged herein, by actions
             20 and inactions which include, but are not limited to, negligently failing to determine the
             21 fact that ANTHONIE SMITH posed no threat of physical harm to any person when he
             22 was shot and killed, negligently inflicting physical injury upon ANTHONIE SMITH, as
             23 described herein, and negligently employing deadly force against ANTHONIE SMITH
             24 when the same was unnecessary and unlawful. All of these negligent acts proximately
             25 caused ANTHONIE SMITH’s death on July 16, 2015.
             26            42.    As a proximate result of all of the above-mentioned conduct of the
             27 Defendants, and each of them, ANTHONIE SMITH was shot and killed on July 16,
             28 2015.



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                1          43.   As a direct and proximate result of the death of decedent ANTHONIE
                2 SMITH and the above-described conduct of the Defendants, and each of them,
                3 ANTHONIE SMITH’s heir, the Plaintiff herein, has sustained substantial economic and
                4 non-economic damages resulting from the loss of the love, companionship, comfort,
                5 care, assistance, protection, affection, society, moral support, training, guidance,
                6
                     services, and support of ANTHONIE SMITH in an amount according to proof at trial.
     THE        7
C OCHRAN
                           44.   As a further proximate result of the above-described conduct of the
    FIRM        8
CALIFORNIA
4929 Wilshire Bl.
                     Defendants, and each of them, and the ensuing death of ANTHONIE SMITH, Plaintiff
   Suite 1010
 (323)435-8205  9
                     has incurred funeral and burial expenses in an amount according to proof at trial.
             10
             11
                           WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
             12
                           1.    For funeral and burial related expenses according to proof at trial;
             13
                           2.    For general damages in an amount according to proof at trial;
             14
                           3.    For medical and related expenses according to proof at trial;
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                           4.    For costs of suit incurred herein;
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             17
                           5.    For attorneys’ fees incurred herein, as provided by law;

             18            6.    For punitive damages against the individual Defendants in their individual

             19                  capacities in an amount according to proof at trial; and

             20            7.    For such other and further relief as the Court deems just and proper.
             21
             22 DATED: February 5, 2016              Respectfully submitted,
             23                                      THE COCHRAN FIRM CALIFORNIA
             24
             25
                                                     By: /s/ Brian T. Dunn
             26                                             BRIAN T. DUNN
             27                                             MEGAN R. GYONGYOS
                                                            Attorneys for Plaintiff, DEMAR SMITH
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                1                                       JURY DEMAND
                2         Plaintiff hereby demands that a jury be empaneled for the trial of this matter.
                3
                4
                5 DATED: February 5, 2016           Respectfully submitted,
                6
                                                    THE COCHRAN FIRM CALIFORNIA
     THE        7
C OCHRAN
  FIRM 8
CALIFORNIA
4929 Wilshire Bl.
   Suite 1010
                9
                                                    By: /s/ Brian T. Dunn
 (323)435-8205
                                                           BRIAN T. DUNN
             10                                            MEGAN R. GYONGYOS
             11                                            Attorneys for Plaintiff, DEMAR SMITH

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